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     EXHIBIT H
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                                                                                                                          MCA MDS     MCB/Other
              ACTIVITY                                              BILLABLE STATUS                                       Allowable   Allowable
                                                                                                                                                  OT   PT   SLP   OTA   PTA             Source Document


Evaluations / Screening             Evaluations
                                    Time to prepare the area for the evaluation, the conduction of the procedures
                                    used in the evaluation of the Patient’s function and note-taking during the eval                                                           MDS 3.0 RAI Manual, Chapter 3, Page
                                                                                                                              No        Yes                                                  O-19
                                    with active participation of the Patient is billed. Within 2 working days
                                    physician referral.
                                                                                                                                                                               MDS 3.0 RAI Manual, Chapter 3, Page
                                    Re-evaluation are billable                                                                Yes       Yes                                                  O-19
                                    Screening is a non-billable service                                                       No         No                                      Novitas Solutions LCD L35070


Treatment Time                      Treatments
                                                                                                                                                                               MDS 3.0 RAI Manual, Chapter 3, Page
                                    Treatment time is billable as long as it is Patient specific time.                        Yes       Yes                                                  O-19
                                    Transportation to/from the rehabilitation department is billable only if
                                                                                                                                                                               MDS 3.0 RAI Manual, Chapter 3, Page
     1) Transportation              transfer teaching, walking or wheelchair, occurs as structured therapeutic                Yes       Yes                                                  O-20
                                    activity and is part of POC.
                                    Patient rest times, with goal of determining Patient's response to treatment, is                                                           MDS 3.0 RAI Manual, Chapter 3, Page
     2) Patient rest time                                                                                                     Yes       Yes                                                  O-19
                                    billable.
                                    Set up time is billable as part of the treatment time. (Billable for Part A only,                                                          MDS 3.0 RAI Manual, Chapter 3, Page
     3) Set up time                                                                                                           Yes        No                                                  O-19
                                    not billable for part B).
                                    The time necessary to supervise Patients is included in the treatment time and
          Supervision; Need to be   is billable as long as the treating therapist is physically present in the room                                                            MDS 3.0 RAI Manual, Chapter 3, Page
     4)                                                                                                                       Yes       Yes                                                  O-20
          physically present        where the treatment is performed and supervising the entire treatment
                                    procedure.

Teaching Time                       Teaching
                                    Time spent teaching nursing staff, other caregivers with Patient specific follow
                                                                                                                                                                                  Novitas Solutions LCD L35070,
                                    up program is billable- only when the Patient is an active participant in the             Yes       Yes                                                LCD L35036
                                    teaching session.

Home Evaluation                     Home Evaluations
                                    Travel time is not billable, unless Patient is present and it is a part of the Plan                                                        MDS 3.0 RAI Manual, Chapter 3, Page
     1) Travel Time                                                                                                           Yes       Yes                                                  O-20
                                    of Care.
                                    Time spent in home visit with evaluation of the Patient and/or home situation                                                              MDS 3.0 RAI Manual, Chapter 3, Page
     2) Home Visit                                                                                                            Yes       Yes                                                  O-20
                                    is billable. Only 1 home visit/Patient/admission.

Co-treatment                        Co-treatment
                                    Treatment time is billable by both disciplines (Billable for Part A only,                                                                  MDS 3.0 RAI Manual, Chapter 3, Page
                                                                                                                              Yes       Yes                                                  O-20
                                    time must be split for part B).




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                                                                                                                           MCA MDS     MCB/Other
             ACTIVITY                                                 BILLABLE STATUS                                      Allowable   Allowable
                                                                                                                                                   OT   PT   SLP   OTA   PTA             Source Document


Group treatment                       Group Treatment
                                                                                                                                                                                MDS 3.0 RAI Manual, Chapter 3, Page
                                      For Part A: Group consists of four patients completing same activity.                     Yes                                                           O-26
        Maximum number of
                                      For Part A: All Group time reported on MDS will be divided by four.                       Yes
        Patients to rehabilitation
        employee is 4. Must be
                                      Concurrent Treatment
        ordered by physician. Must
                                      For Part A: 2 Patients at the same time not performing the same or similar                                                                MDS 3.0 RAI Manual, Chapter 3, Page
        be based on individual plan                                                                                             Yes                                                           O-24
                                      activities in line of sight supervision of the therapist/assistant.
        of care post eval by
                                      The total time under the Concurrent Therapy Service Delivery Mode will be cut
        therapist. Provided by or                                                                                               Yes
                                      in half by the RUG Grouper software.
        directly supervised by a
        licensed staff member.        For MCB, any activity with two or more participants is considered group and
                                                                                                                                         Yes
                                      total time is divided equally among the number of participants.


Transporation Time                    Transportation
                                                                                                                                                                                MDS 3.0 RAI Manual, Chapter 3, Page
                                      Not billable if Patient is passively transported to the department.                       No        No                                                  O-20
                                      Is billable if transfer training, pathfinding is part of the Plan of Care and                                                             MDS 3.0 RAI Manual, Chapter 3, Page
                                                                                                                                Yes      Yes                                                  O-20
                                      Patient is an active participant

Scheduling Time                       Scheduling
                                                                                                                                                                                MDS 3.0 RAI Manual, Chapter 3, Page
                                      Not billable                                                                              No        No                                                  O-20


Patient Rest Time                     Rest Time
                                                                                                                                                                                MDS 3.0 RAI Manual, Chapter 3, Page
                                      Not billable if for the convenience of the staff                                          No        No                                                  O-20
                                      Is billable as part of the treatment to establish the Patient’s recovery and/or                                                           MDS 3.0 RAI Manual, Chapter 3, Page
                                                                                                                                Yes      Yes                                                  O-20
                                      response to the treatment
                                                                                                                                                                                  Novitas Solutions LCD L35036
                                                                                                                                                                                MDS 3.0 RAI Manual, Chapter 3, Page
Waiting/set up of treatment area      Waiting                                                                                                                                                 O-19
time                                  Set up time is billable (not for Part B)                                                  Yes       No


                                      Business Office Time
Word Processing, photocopying,
mailing and other business office                                                                                                                                               MDS 3.0 RAI Manual, Chapter 3, Page
                                      Not billable                                                                              No        No
time related to Patient care                                                                                                                                                                  O-20




Meetings                              Meetings
                                      Educational Care Conferences regarding progress, problems, plans with the                                                                 MDS 3.0 RAI Manual, Chapter 3, Page
        Care Plan/Medicare                                                                                                                                                                     O-20
        Rehabilitation team/          Patient present is billable time. Time should be recorded to reflect the most             Yes      Yes                                                LCD L35070
        department Conference         salient topic of discussion.                                                                                                                          LCD L35036

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                                                                                          MCA MDS     MCB/Other
    ACTIVITY                                         BILLABLE STATUS                      Allowable   Allowable
                                                                                                                  OT   PT   SLP   OTA   PTA             Source Document
department Conference
                                                                                                                                               MDS 3.0 RAI Manual, Chapter 3, Page
time OBRA–related       Meetings without the patient present are not billable.                 No        No                                                  O-20




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                                                                                                                          MCA MDS     MCB/Other
              ACTIVITY                                              BILLABLE STATUS                                       Allowable   Allowable
                                                                                                                                                       OT           PT           SLP          OTA           PTA                 Source Document


                                     Cleaning
Cleaning and maintenance of the
                                     Ordering supplies, restocking, general cleaning and maintenance are non-                                                                                                         MDS 3.0 RAI Manual, Chapter 3, Page
department                                                                                                                     No        No
                                     billable                                                                                                                                                                                       O-20


Reading, researching Textbooks &     Reading
                                     Reading professional literature or researching Patient, conditions/treatment                                                                                                     MDS 3.0 RAI Manual, Chapter 3, Page
                                                                                                                               No        No                                                                                         O-20
                                     options even if related to a specific Patient is non-billable


In-services                          In-services
                                                                                                                                                                                                                      MDS 3.0 RAI Manual, Chapter 3, Page
                                     Non-billable                                                                              No        No
        General in-services, Sales                                                                                                                                                                                                  O-20
        product in-services to       Education/Training of caregivers /family for a patient-specific need when the
                                                                                                                                                                                                                      MDS 3.0 RAI Manual, Chapter 3, Page
        rehabilitation staff         patient present is billable time; includes RNP and Maintenance Program                    Yes       Yes                                                                                        O-20
                                     Discharge preparation/planning.

                                     Attempting Therapy
Attempting scheduled therapy                                                                                                                                                                                          MDS 3.0 RAI Manual, Chapter 3, Page
                                     Multiple attempts made for Patient treatment is non-billable                              No        No                                                                                         O-22


Assisting Patients                   Assisting Patients                                                                        No        No
                                                                                                                                                                                                                      MDS 3.0 RAI Manual, Chapter 3, Page
                                        Orthotic/prosthetic management, subsequent orthotics[s] encounter                      Yes       Yes                                                                                        O-20
        For tests outside the facility,                                                                                                                                                                                 Novitas Solutions LCD L35036
        Modified barium swallow         92611 is billable by SLPs who participate in the MBS on a mobile unit,
        test, Prosthetic fittings                                                                                                                                                                                        CMS Claims Processing Manual,
                                        consulting with the Administering SLP regarding recommendations and                    Yes       Yes                                                                                Chapter 5, Section 20.2
                                        outcome

                                                                                                                                      Additional Sources Supporting all of the above: CMS IOM Publication 100-02, Ch 15, Sections 220 and 230
                                                                                                                                                                        CMS IOM 100-03, Ch 1, Section 170.3
                                     Job Description Responsibilities & Contribution toward Productivity                                                                        CMS IOM 100-04, Ch 5
                                                                                                                                                                       CMS IOM 100-08, Ch 13, Section 13.5.1




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                                                                                                          MCA MDS     MCB/Other
      ACTIVITY                                       BILLABLE STATUS                                      Allowable   Allowable
                                                                                                                                  OT    PT    SLP   OTA   PTA        Source Document


                       Screens, evaluates, and treats patients. Evaluate patient within two working
                                                                                                                                  Yes   Yes   Yes
                       days of physician referral.
                       Develop effective treatment plans.                                                                         Yes   Yes   Yes
                       Supervise Occupational Therapy Assistants, Physical Therapist Assistants in
                                                                                                                                  Yes   Yes   Yes
                       direct patient care and patient related activities.
                       Treat patients according to a treatment plan approved by the attending
                                                                                                                                  Yes   Yes   Yes
                       physician.
                       Communicate with supervisor and other clinical care team members regarding
                                                                                                                                  Yes   Yes   Yes
                       patient progress, problems, and plans with patient present.
                       Participate as necessary in patient care conferences regarding progress,
                                                                                                                                  Yes   Yes   Yes
                       problems, plans with patient present.
                       Participate in in-service training programs, if patient is present; assess
                                                                                                                                  Yes   Yes   Yes
                       accuracy of return demonstration by staff/caregivers.
                       Record clinical documentation according to accepted regulatory, corporate and
                                                                                                                                  No    No    No
                       professional guidelines.
                       Record daily treatments and labor per corporate procedures.                                                No    No    No
 Job Description
                       Establish and instruct caregivers in patient specific maintenance programs.                                Yes   Yes   Yes
Responsibilities for
   OT/PT/SLP           Participate in discharge planning; staff/family education and training with
                                                                                                                                  Yes   Yes   Yes
                       patient present.
                       Complete Evaluations/Reports/Discharges within 24 hours of receipt of
                                                                                                                                  Yes   Yes   Yes
                       Physician Order; discuss assessment findings, plan of care, goals with patient.

                       Print Evaluations/Reports/Discharges within 24-48 hours and file as indicated.                             No    No    No

                       Complete Clarification orders immediately following all Evaluations,
                                                                                                                                  No    No    No
                       Recertification and Discharges.
                       Complete G-Codes during 10th Treatment Encounter Note visit or before, with
                                                                                                                                  Yes   Yes   Yes
                       patient assessment/re-assessment.
                       All Treatment Encounter Notes must be entered daily before the close of
                                                                                                                                  Yes   Yes   Yes
                       business with patient input, perception of progress.

                       Daily Encounter Record billing completed before the close of business.                                     No    No    No

                       Weekly Progress notes must be completed every 7 calendar days or every 5
                       treatment days, with patient feedback, self-evaluation of progress, discussion                             Yes   Yes   Yes
                       of future goal development.




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                                                                                                          MCA MDS     MCB/Other
      ACTIVITY                                        BILLABLE STATUS                                     Allowable   Allowable
                                                                                                                                  OT   PT   SLP   OTA   PTA        Source Document



                       Treats patients as directed by the Licensed Supervising Therapist.                                                         Yes   Yes

                       Records treatments given in patient medical record.                                                                        No    No

                       Participates in Daily and Weekly Clinical Case Management Meetings as
                                                                                                                                                  Yes   Yes
                       indicated, when patient is present.

                       Communicates with supervisor and other interdisciplinary team members
                                                                                                                                                  Yes   Yes
                       regarding patient progress, problems, and plans; when patient is present.

                       Participates in facility in-service training programs, when patient is
 Job Description                                                                                                                                  Yes   Yes
                       present/assess return-demonstration of caregivers.
Responsibilities for   Records daily treatments and labor according to corporate procedure.                                                       No    No
    OTA/PTA
                       Instructs families and staff in maintenance programs as directed by the
                                                                                                                                                  Yes   Yes
                       Occupational Therapist, with patient participation.

                       Assists with cleaning and maintenance of treatment area and department.                                                    No    No

                       Treatment Encounter Notes must be entered daily before the close of business,
                                                                                                                                                  Yes   Yes
                       when patient is present with discussion of goals, progress.

                       Daily Encounter Record billing must be completed before the close of business.                                             No    No

                       Weekly Progress notes must be completed every 7 calendar days or every 5
                                                                                                                                                  Yes   Yes
                       treatment days, when patient is present and discusses.




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